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                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       www.flsb.uscourts.gov

In re: Reina J Ortiz Barrientos                           Case No: 17-17071-RAM

                                                           Chapter 13
                          Debtor(s)    /


     NOTICE OF COMPLIANCE BY ATTORNEY FOR DEBTOR WITH LOCAL RULE
                  2083-1(B) CLAIMS REVIEW REQUIREMENT

       The undersigned attorney for debtor certifies that a review of the claims register
and all claims filed in the above referenced case has been completed in accordance
with Local Rule 2083-1(B) and that:

1)               No further action is necessary.

2)      The following actions have been taken:

                 The debtor has filed an objection to the proof of claim filed by
                  LVNV Funding, LLC its successors and assigns as assignee of Soaring
                 Capital, LLC Resurgent Capital Services #9 and Pinnacle Credit Services,
                 LLC its successors and assigns as assignee of Cellco Partnership d/b/a
                 Verizon Wireless Resurgent Capital Services #5      .

                 The debtor has filed a             amended plan or modified plan to provide
                 for the proof of claim filed by                                          .

                 Other:

                                                                                           .

      A copy of this certificate of compliance was served on the chapter 13 trustee via
the NEF and the debtor via U.S. Mail on February 22, 2019      .

                                              Submitted by:
                                             ROBERT SANCHEZ, P.A.
                                             Attorney for Debtor
                                             355 W 49th Street
                                             Hialeah, FL 33013
                                             Tel. (305) 687-8008

                                             By:/s/Robert Sanchez_________________
                                             Robert Sanchez, Esq., FBN#0442161




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